Case 1:07-cv-01238-LG-RHW Document-181-2. Filed 10/07/09 Page 1 of3
AUTHORIZATION 1O USE OR DISCLOSE PROTECTED HEAL 1.1 INFORMATION

| hereby authorizeGulf Coast Mental Health to use or disclose the following protected
health information (PHI) fram the medical records of the patient listed below to:

Requestor Name: Dukes, Dukes, Keating and Faneca, P.A.
P.O. Drawer W
Gulfport, MS 39502

Patient Name: Marguerite Carrubba

Patient DOB:

Patient Sacial Security Number: aa:

Patient Address: c/o Robert G. Harenski, Esquire

1906 Pass Road
Biloxi, MS 39531

Disclose the following PHI for treatment dates MM to Present.

sAbstract/Pertinent wHistory and Physical Physician Orders wEntire Chart
wOperative Report Progress Notes X-ray @Billing

@ER Report @Lab aConsult

aOther specified Discharge Summary &Nurse Notes

Other Specified: All other such records in your possession, custody or control.

The above Information is disclosed for the following purposes:
OMedical Care _ BLegal Olnsurance oPersonal oOther

Me | acknowledge, and hereby consent to such, that the release of information may contain alcohol
initials and drug abuse, psychiatric, HIV or genetic information

This authorization shail expire upon this expiration date: final disposition of Marguerite Carrubba or
five (5) years from the date of this authorization, whichever comes first
*“*If | fail to specify an expiration date or event, this authorization will expire six (6) months from the
date on which it was signed.

° | understand that | have the right to revoke this authorization at any time. | understand that | must
. do so in writing and present the written revocation to._Guif Coast Mental Health
| understand that the revocation will not apply to information that has already been released to this
authorization.

. The information used or disclosed pursuant to the authorization may be subject to redisclosure by
the recipient and no longer protected.

| have read the above and authorize the disclosure of the protected health information as stated. If 1 do
not sign this form, my heaith care and the payment for my health care will not be affected unless stated

also

Date

if signed by legal representative, relationship to patient:

Signature of Witness Date

If signed by legal representative, relationship to patient:

Signature of Witness

EXHIBIT

man

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Filed 10/07/09 Page 2 of 3

SWORN TO AND SUBSCRIBED BEFORE ME, this the. of fo LUO VK 2009. wattne
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This authorization is designed to be in compliance with the Heaith Insurance Portability and Arousal
1.

Act ("HIPAA") 45 CFR Parts 160 and 164.

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AUTHORIZATION FOR RELEASE OF PSYCHOTHERAPY NOTES

Name: Marguerite Carrubba

Date of birth: que
Social Security Number: QQ

Lhereby authorize all health care providers, physicians, hospitals, clinics and institutions, medical facilities, mental health clinics

mental health hospitals, pharmacies, Social Security Administration Disability Determination Services and Department of Workers!

Claims, to release all psychotherapy note records and information regarding Frances Winn, to the records service of Cy Faneca, Dukes,
Dukes, Keating and Faneca, P.A., P.O. Drawer W, Gulfport, MS 39502.

I understand that this authorization is for release of psychotherapy notes as defined by the Health Insurance Portability and
Accountability Act 45 CFR 164.501 [psychotherapy notes means notes recorded (in any medium) by a health care provider who is a
mental health professional documenting or analyzing the contents of conversation during a private counseling session or a group, joint,
or family counseling session and that are separated from the rest of the individual's record].

I, the undersigned individual am on notice that:

Initiating this request for disclosure of protected health information, and any disclosure of the same pursuant hereto. is at the
request of the individual,

Any health care provider disclosing the above requested information may not condition treatment, payment, enrollment or
eligibility for benefits on whether the individual signs this authorization.

This authorization can be revoked through written notice to Frances Winn, or to the individual above listed entities, except to the
extent that action has been taken in reliance on this authorization. The undersigned is aware of the potential that protected health
information disclosed pursuant to this authorization is subject to re-disclosure in a manner that will not be protected by HIPAA
regulations.

*—A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will remain in

effect until settlement or final disposition of William David Seal v. Harrison County, Mississippi, et al. or five (5) years from the
date of this authorization, whichever comes later.

I have carefully read and understand the above, and do herein expressly and voluntarily authorize the disclosure of the above
information about, or medical records of, my condition to those persons or agencies listed above.

Date: & - S- QOOF Cs on hy Cvianwol

(Signature) Path atiekDRepresentative

Printed Name of Patient's Representative Relationship to Patient

Description of Representative's Authority to Act for the Patient

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SWORN TO AND SUBSCRIBED BEFORE ME, this the 5! day of “CS FUBNAK 2009, a god M PEAGe %
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This authorization is designed to be in compliance with the Health Insurance Portability and Accountability Act CHTPAA") 45
CFR Parts 160 and 164.

*Psychatherapy notes excludes medication prescription and monitoring, counseling session start and stop times, the modalities and
frequencies of treatment furnished, results of clinical tests, and any summary of the following items: diagnosis, functional status, the
treatment plan, symptoms, prognosis, and progress date.
